J VUDGE eM Aton: Document 1 Filed 03/13/20 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

IN RE: CORONAVIRUS/COVID-19
PANDEMIC

 

STANDING ORDERW_

  
   
   

This Matter Relates: Service of Process In M10-46
Pro Se Matters

MAR 73 2020

 

 

S.D. oF NN:

In light of current efforts to slow the transmission of the 2019 Novel Coronavirus and the
resulting disease, called COVID-19, it is hereby ORDERED:

Any requirement that the Unites States Marshals Service effect personal service of
process under Federal Rule of Civil Procedure 4(c)(3) or 28 U.S.C. § 1915(d) is suspended until
further notice. This order does not apply to service by mail under N.Y. C.P.L.R. § 312-a, waivers
of service under Federal Rule of Civil Procedure 4(d), or service by electronic means. In any
case in which the U.S. Marshals Service has been ordered to serve process, the time for service
under Federal Rule of Civil Procedure 4(m) will be tolled until this stay is lifted.

This standing order supersedes any orders of service issued in individual cases,

SO ORDERED.

Dated: March 13, 2020 )
New York, New York ya Te

COLLEEN McMAHON
Chief United States District Judge

 

 
